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                    Exhibit A
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                                         (212) 474-1151



                                                                                  August 27, 2020

                     Epic Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR


Dear Counsel:

              We write on behalf of Epic Games, Inc. (“Epic”) to raise an urgent concern about
Apple’s proposed termination of Epic’s developer account (Team ID # 8XJ6WJ8Z84, “the ’84
account”) and potential consequential effects on third-party game developers whose Epic Games
Store customers use the Sign In with Apple service, Epic account owners who use the Sign In
with Apple service to access third-party games, and third-party developers who access the Unreal
Engine using the Sign In with Apple service.

                As you know, in the Temporary Restraining Order entered on Monday, the Court
wrote that the dispute between Apple and Epic “should not create havoc to bystanders”. (ECF
No. 48 at 7.) The Court wrote that “during the period of a temporary restraining order the status
quo in this regard should be maintained”. (Id.) That status quo is one which third-party game
developers whose Epic Games Store customers use the Sign In with Apple service, Epic account
owners who use the Sign In with Apple service to access third-party games, and third-party
developers who access the Unreal Engine using the Sign In with Apple service continue to have
unimpaired access to those services. Epic is concerned that Apple’s termination of the ’84
account may disrupt this status quo for third parties, contrary to the Temporary Restraining
Order.

                Certain users of services provided by Epic must create and use accounts in Epic’s
systems. When users of Apple devices create or access an Epic account, they may choose to use
Apple’s Sign In with Apple service. For many of these users, the Sign in with Apple service is
the only way users have accessed their Epic accounts, and the only way such users could access
their accounts in the future. Other users have requested, as part of their use of the Sign in with
Apple service, that Apple create private email relay addresses rather than providing their email
addresses directly to Epic. If Apple takes steps that prevent the use of the Sign In with Apple
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service to access Epic accounts, many users will be unable to access their Epic accounts, and
Epic could even lose the ability to communicate with its own users through private email relays.

                Epic therefore requests that Apple confirm that it will not take any steps that
impair the Sign in with Apple service used by third-parties who rely on Epic services. We are
available to discuss this issue on an urgent basis during the course of the day today and to work
cooperatively with Apple to ensure that third parties are not harmed. Epic reserves all rights.


                                                 Sincerely,



                                                 s/ Katherine B. Forrest


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VIA EMAIL
